Case 1:02-cV-01152-.]DB-tmp Document 573 Filed 05/04/05 Page 1 of 4 Page|D 663

IN THE UNITED sTATEs DISTRICT coURT /?@&
FoR THE WESTERN DISTRICT oF TENNESSEE 0‘5`4,
EASTERN DIvIsIoN 4

C,/ 1;.; p0
LARRY sTEVE MELToN, LARRY s. MELTON /,,"<>/;>>;9 /YJ_
R & J of TENNESSEE, INC., 0,<<~’ 0 4}' § 'OO
Plaimiffs "‘¢i’o,/Fj`/}<”@
v. No. 02-1152-13/1>

BANK OF LEXINGTON branch of the
BANK OF FRIENDSHIP, et al.,

Defendants.

 

ORDER OF REFERENCE

 

Before the court is Plaintiff Larry S. Melton’s Motion for Protective Order filed on April
28, 2005. This motion is referred to the United States Magistrate Judge for determination
Any objections to the magistrate judge’s order shall be made within ten (10) days after service
of the order, setting forth particularly those portions of the order objected to and the reasons for
the objections Failure to timely assign as error a defect in the magistrate judge’s order will
constitute a waiver of that objection See Rule 72(a), Federal Rules of Civil Procedure.

f`l
IT rs so oRDERED this day of+¢;ii~, 2005.

 

J. DANIEL BREEN\
NI rED sTATEs DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 573 in
case 1:02-CV-01152 Was distributed by faX, mail, or direct printing on
May 9, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

